Case 1:17-cv- “Ss EA LED 37 Filed 01/17/24 L_Page 1 of 30 PagelD.695

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IN THE UNITED STATES DISTRICT COURT

FOR THE eeeese OF 1? nf

CV17 OO Of 07 DKW KIM
IN RE APPLICABILITY OF MAG NO. 17-007

ATTORNEY-CLIENT PRIVILEGE

AND CRIME-FRAUD EXCEPTION GOVERNMENT’S APPEAL AND

TO CERTAIN AUDIO REQUEST TO DISTRICT COURT

RECORDINGS TO RECONSIDER A PRETRIAL
MATTER DETERMINED BY THE
MAGISTRATE JUDGE;

MEMORANDUM IN SUPPORT OF
GOVERNMENT’S APPEAL AND
REQUEST TO DISTRICT COURT
TO RECONSIDER A PRETRIAL
MATTER DETERMINED BY THE
MAGISTRATE JUDGE

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Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 2 of 30 PagelD.696
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GOVERNMENT’S APPEAL AND REQUEST TO
DISTRICT COURT TO RECONSIDER A
PRETRIAL MATTER DETERMINED BY THE MAGISTRATE JUDGE

The United States hereby respectfully appeals and requests this Court to
reconsider Magistrate Judge Kenneth J. Mansfield’s February 22, 2017 Order
Denying Government’s Motion for Reconsideration of Oral Ruling Denying Ex
Parte Motion for Determination of Applicability of Attorney-Client Privilege and
Crime-Fraud Exception to Certain Audio Recordings (Doc. No. 9) (the “Order’’),
pursuant to 28 U.S.C. § 636(b)(1)(A), Fed. R. Crim. P. 59(a) and CrimLR57.3(b),
on the grounds that the Order is contrary to law and/or clearly erroneous.

This appeal and request for reconsideration is brought pursuant to 28 U.S.C.
§ 636(b)(1)(A), Fed. R. Crim. P. 59(a) and CrimLR57.3(b), and is based upon the
attached memorandum and the pleadings, declarations and exhibits filed herein.

Dated: March 7, 2017, at Honolulu, Hawaii.

FLORENCE T. NAKAKUNI

United States Attorney

District of Hawaii
X

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Assistant U.S. Attorneys

By

Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 3 of 30 PagelD.697

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAIL

IN RE APPLICABILITY OF
ATTORNEY-CLIENT PRIVILEGE
AND CRIME-FRAUD EXCEPTION
TO CERTAIN AUDIO
RECORDINGS

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MAG NO. 17-0075 KJM

MEMORANDUM IN SUPPORT OF
GOVERNMENT’S APPEAL AND
REQUEST TO DISTRICT COURT
TO RECONSIDER A PRETRIAL
MATTER DETERMINED BY THE
MAGISTRATE JUDGE
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 4 of 30 PagelD.698

— —
TABLE OF CONTENTS
I, BTA PEMEN TE OF BACT S wessseensssrrsarerenerncannonassatunsmmrnaomaweusemnnaees 1
A. Overview/Procedural History ..........ccccccccssccsceseeesseeseeeteesneeeteesaeesaeeseeeenees 1
TE, URGUIMIB INE sccesccurcoraaussonnerecinerecuananennnencumrcoucasaussuaaaiveaneenenccmeeumnmmesceees 5

A. The Magistrate Judge’s Ruling That
~ The Court Lacked Supervisory Jurisdiction
Over This Pending Grand Jury Investigation
Was Clearly Erroneous and Contrary to Law secsiissssscisscoseorcsrccusecossccs 5

B. The Magistrate Judge Applied Incorrect
Legal Standards In Making The Crime-Fraud
Exception Deter ys cicero ncmreseranccremes nana boncndieauenciss 10

C. On Reconsideration, The Court Should Find
That The Crime-Fraud Exception Applies
In This Case ...ccccccccccccccccccccsccceccseccseeeeseeesesseesseeeeceesetesessseesssssessseeteeenses 15

1. The Proffered Evidence Was Sufficient
to Establish a Prima Facie Showing of
a Violation of 18 U.S.C. § 666.0... ccecseseccecsssseceesessseeeeseneeeeeenes 15

2. The Subject Recorded Conversations Are
Related to, and in Furtherance of, the
Alleged Violation of 18 U.S.C. § 666.0... cc eesccssseceteceeneeeneeeenes 22

JUL: CONCLUSION  siccscccssssesvssususiansnacouianpmnuercanceceueninennacmmasmurnmanaaunomaiye 23
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 5 of 30 PagelD.699

— —
TABLE OF AUTHORITIES
CASES PAGES
Blair v. United States,
A a ssc a i iat ASAE RSE NE SIRES 7
Branzburg v. Hayes,
AOS U.S. 665 (1972) .o.eeeecseessesccsssesceccessessessesseesseeatessesseeeaeesseaseaeeseeaeeasesssenseneeeatens 6

Brown v. United States,
399 U8. (1959) sccccsscessemnencncumarrecenucneusran aes canes: seve rcuea nian cninmcavoag 7

Carlson v. United States,
a S093) (Pan A 2 OL woneanennnaneracenmacesamssinees dcwoiaenccocsrosevaioswennanicuawesnienss 7

Harris v. DeSoto,
BO Haw. 425 (1996)... cecccccssccesseessseessessseessecessesessecessecesssecssecessseeeseseseesaeensseenes 18

In re Grand Jury Proceedings,
BGT Feed S59 (90H Cite [OGD rescence enone ere eee re cere rre earns 10

In re Grand Jury Proceedings #5,
ADO Bee CE CAP DOO IY rs: cassncromeasunct eaxonntanncanussnesasisiavaisuusraicesescsinaernNisiiss 8

In re Grand Jury Proceedings (The Corporation),
87 F.3d 377 (Oth Cir. 1996)... ee eccccceeseeseesseeecsseeeesecesseseceeeceseeseeseeeseeaeeneeesees 15

In re Grand Jury Subpoena,
22> Ft. 213 (0 Cit 2000) oscmsesseseemrreenncnmnern eenrremariee 7-8, 9

In re Grand Jury Subpoenas,
Teh ek GS CAE Sos od DG) scrccorascneenesessomsannssxesnenanassraanageetin sece canara ER 9

Levine v. United States,
Be, W600 C960) sccsc eer ere purus ears cu ues caesarean eee ners 6

United States v. Brann,
990 F.2d 98 (3d Cir. 1993) oo cccccccccccccssecesseecesssecssssecceesecesssscesesseceesesceesseeseeeee 16

La.
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 6 of 30 PagelD.700

_— —

CASES PAGES
United States v. Calandra,

ALAS. 338 (1 OTA) scccssxsssssscscrweavssvanancoineivorecenesasicoisaascccneastansunmnaceannecseacnannoemoenses 8
United States v. Chen,

99 F.3d 1495 (9th Cir, 1996)... cccecessecececsscecsneeesseeseeesteeseneseseeseneeesseeenseees 15, 16
United States v. Dionisio,

BLO US el GUE espe creer sees saeeram ens caer rare aan on torpor ee sn umeae nes 8
United States v. Fernandez,

2013 WL 3215461 (Ist Cir. June 26, 2013) capstone cinrarcutes woos at ecemeestaetouaeanseeTNtiareaeasnae 16
United States v. Frazier,

53 F.3d 1105 (LOth Cir. 1995)... eecccesccesteccssesseeesssceeessceeeseeesesseessaeeesseeeeesees 17
United States v. Shelton,

816 E. Supp. 1132 (WD: Tex, 1993 essssesccsresencnneusncanwmeiammanenuannss 17
United States v. Urlacher,

OF B26 935 (2nd Cte: 1992) vvvccsscisccmvunassneasssesasnasvenvnussmesmunceuccncacccses 16, 17, 19
United States v. Williams,

504 U.S. 36 (1992) ue eeccecsscsssscessccesrecesseeeseccssecessecesseceseeeeseceeecesseceeeeseeeeesees 6, 7
United States v. Zolin,

494 UsSe984 C1989) sssrsccccepserecneeeesnerancuuey emer apenreeneemer 12, 15, 17
FEDERAL STATUTES/RULES PAGES ©

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18 U.S.C. § 666(a)(1)(A) occ eecccccccessecssseeseeeesseeesecesneeceaseeeseessecessaeeseeeeeeeeas passim

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Fed. RB Crit. PS9(48) sscuccvsssscesneupaanemnuomnenmnesunen en anreR 1

CrimLR57.3 ....ccccccseesecesscceeesseceessscessscccessescessscseessteseeseesesnseseessecessseceeeseeesesseeeessssees 1

i. ck
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 7 of 30 PagelD.701
—_

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CITY ORDINANCES PAGES
ROH § 2-3.1(A)(L) cesssssssssssssssssnsssessnsnsssessuensssesssanssesnsnassssensnanneseseusensssenineeee 18
ROH § 2-3.4(a)csscssssssesseseessssensessenssseenssesvenseviensensensevnneseveeessee 18, 19, 20, 22
ROH § 2-17.2(c)(1) cssssscssesssssenseseeenssvsensssevenseseanseesanssesnseeeennsee 18, 19, 21, 22

iv
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 8 of 30 PagelD.702
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~_MEMORANDUM IN SUPPORT OF GOVERNMENT’S APPEAL
AND REQUEST TO DISTRICT COURT TO RECONSIDER
A PRETRIAL MATTER DETERMINED BY THE MAGISTRATE JUDGE

At issue in this appeal is whether the crime-fraud exception to the attorney-
client privilege should be applied to vitiate any attorney-client protections relating
to audio recordings of conversations between Honolulu Police Department
(“HPD”) senior staff and certain City and County of Honolulu (the “City”)
attorneys and high-ranking officials which were surreptitiously recorded by the
HPD and voluntarily turned over to the Federal Bureau of Investigation (“FBI”) as
evidence of possible federal crimes.

The United States hereby respectfully appeals and requests this Court to
reconsider Magistrate Judge Kenneth J. Mansfield’s February 22, 2017 Order
Denying Government’s Motion for Reconsideration of Oral Ruling Denying Ex
Parte Motion for Determination of Applicability of Attomey-Client Privilege and
Crime-Fraud Exception to Certain Audio Recordings (Doc. No. 9) (the “Order”),
pursuant to 28 U.S.C. § 636(b)(1)(A), Fed. R. Crim. P. 59(a) and CrimLR57.3(b),
on the grounds that the Order is contrary to law and/or clearly erroneous.

I. STATEMENT OF FACTS

A. Overview/Procedural History.

This appeal is filed by government “taint team” attorneys in connection with

the investigation of possible new crimes that arose from, and are related to, the
Case 1:17-cv-00107-DKW-KJM Document 37 Filed O1/1 7/24 Page 9 of 30 PagelD.703
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pending grand jury investigation of former HPD Chief Louis Kealoha, his wife
Katherine Kealoha, and others. See Grand Jury Proceeding No. 15-1-7 (the
“Kealoha Investigation”). This new matter was referred to the FBI by HPD senior
staff and involves allegations that certain City attorneys and officials were
conspiring to intentionally misapply HPD and City funds in order to pay a
$250,000 lump-sum settlement to Kealoha! without first obtaining Honolulu City
Council approval, as required by City ordinances, in violation of 18 U.S.C. § 666.
The City attorneys and officials who are the subject of this investigation include
Corporation Counsel Donna Leong; Honolulu Police Commission Chair Max
Sword; Nelson Koyanagi, the Director of the City’s Department of Budget and
Fiscal Services (“BFS”); and Deputy Corporation Counsel Bag.

In support of its allegations, the HPD provided information to the FBI,
including several audio recordings of conversations between Acting HPD Chief
Cary Okimoto and Leong, Sword, Koyanagi and/or Bj which are the subject of
this appeal. Because Leong and Bg are City attorneys who provide legal
representation and advice to the City and its agencies, the taint team attorneys
carefully reviewed the recordings in order to avoid tainting the investigation by

releasing any potentially privileged communications to the investigative team for

! The payment of the lump-sum settlement was negotiated by Kealoha and the
Honolulu Police Commission after Kealoha announced his intention to retire after
receiving a federal “target letter” in connection with the Kealoha Investigation.

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Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 10 of 30 PagelD.704
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its review and presentation to the Grand Jury. Despite strong policy arguments
that the recorded conversations between government attorneys and officials should
not be protected by the attorney-client privilege in the context of a criminal
investigation of possible official government misconduct,” the taint team
recognized that, in light of the ex parte and non-adversarial nature of grand jury
investigations, the United States and the individual taint team attorneys had an
ethical duty to protect the integrity of the grand jury process.

On January 19, 2017, the Government filed a sealed, ex parte motion
seeking a judicial finding that the crime-fraud exception applied to abrogate any
possible privilege protecting the recorded conversations (Doc. No. 2) (the
“Motion’’). On January 19, 2017, Magistrate Judge Kenneth J. Mansfield orally
denied the motion based on findings that the Court lacked jurisdiction to provide
advisory opinions to the Government and that the Government had failed to make
the requisite prima facie showing of the alleged federal crime, i.e., 18 U.S.C.

§ 666. See Transcript of Sealed Proceedings dated January 19, 2017, attached as
Ex. “E” to Second Moriyama Decl. (Doc. No. 7-7), at 48:8 to 49:19.
On February 3, 2017, the Government filed a motion for reconsideration

(Doc. No. 7) (the “Recon. Motion’) in order to provide the Court with corrected

2 See memorandum in support of motion for reconsideration (Doc. No. 7-1) (the
“Recon. Memo”) at 18-20.
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 11 of 30 PagelD.705
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transcripts of the four audio recordings, see Exs. “A”-“D” (Doc. Nos. 7-3 to 7-6)
and additional evidence that had not been available to the Government at the time
it filed its initial motion. See Second Moriyama Decl. (Doc. No. 7-2) and Exs.
“F”-“T” (Doc. Nos. 7-8 to 7-11). The Government provided a detailed description
of the investigation and the evidence, see Recon. Memo at 1-17, and presented its
prima-facie showing required to apply the crime-fraud exception -- i.e., there was
“reasonable cause to believe” that (1) Leong, Sword, Koyanagi, Leong and/or
others had or were attempting to intentionally misapply $250,000 in HPD and City
funds to pay the $250,000 settlement to Kealoha without obtaining City Council
approval, as required by Hawaii law, in violation of 18 U.S.C. § 666(a)(1)(A), id.
at 20-28; and (2) the subject recorded conversations were related to the alleged
crime. /d. at 5-9, 28. On February 9, 2017, the Government filed a supplemental
memorandum to present additional new evidence to show that the settlement check
for Kealoha had been issued by BFS and delivered to Kealoha’s attorney, and that
the BFS has processed the transfer of funds used to pay Kealoha in a highly
unusual manner that was wholly consistent with the alleged scheme discussed by
Leong, Sword, Koyanagi and [BJ in various meetings and conversations,
including the subject recorded conversations. See supplemental memorandum in
support of Recon. Motion (Doc. No. 8) (the “Supp. Memo”), the Third Moriyama

Decl. (Doc. No. 8-1) and Exs. “J’-“L” (Doc. Nos. 8-2 to 8-4).
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 12 of 30 PagelD.706

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On February 22, 2017, Magistrate Judge Mansfield issued an Order Denying
Government’s Motion for Reconsideration Motion of Oral Ruling Denying Ex
Parte Motion for Determination of Applicability of Attorney-Client Privilege and
Crime-Fraud Exception to Certain Audio Recordings (Doc. No. 9) (the “Order’’).
The magistrate judge denied the Recon. Motion based primarily upon erroneous
conclusions that the Court lacked jurisdiction, see Order at 12-16; the Government
was not justified in filing its crime-fraud exception motion on an ex parte basis, id.
at 16-18; and the Government had improperly proffered hearsay evidence in
support of the Recon. Motion. Jd. at 8-11. The Order also referenced incorrect
legal standards for in camera review of the purported privileged materials and for
applying the crime-fraud exception itself. Jd. at 20-23. As a result, the magistrate
judge denied the Recon. Motion without ever properly considering the merits or
adequacy of the evidence presented by the United States to support the invocation
of the crime-fraud exception in this case.

Il. ARGUMENT

A. The Magistrate Judge’s Ruling That The Court Lacked
Supervisory Jurisdiction Over This Pending Grand Jury
Investigation Was Clearly Erroneous And Contrary to Law.

Citing Section 2 of Article III of the United States Constitution, the
magistrate judge denied the Recon. Motion based on a perceived lack of

jurisdiction to determine whether the crime-fraud exception applied to the recorded
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 13 of 30 PagelD.707
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conversations:
It is axiomatic that a court has no authority to act unless it has
jurisdiction. Section 2 of Article III of the Constitution allows federal
courts to consider only “cases” and “controversies.” The Supreme
Court has held “[t]hose two words confine ‘the business of federal

courts to questions presented in an adversary context and in a form
historically viewed as capable of resolution through the judicial

333

process.
Order at 12- 13 (citations omitted) (emphasis added). He also found that the
Government was not justified in filing this motion on an ex parte basis, id. at 16-
18; the Government had failed to comply with the notice requirements of LR6.2(c),
id. at 16-1 7; the Government had “not named any potential defendants in this
matter, has not filed a proceeding, and has not provided any notice of its Motion to
persons whose interests may be impacted by the Court’s ruling,” id. at 17; and the
Government’s declarations were insufficient because they contained “second or
third-hand hearsay.” Jd. at 11. These rulings are contrary to law and clearly
erroneous.

The inherent supervisory power of the court over the grand jury is well
established. Although the grand jury operates according to a “tradition of
independence,” United States v. Williams, 504 U.S. 36, 49 (1992), it is part of the
judicial process and is subject to the supervision of the courts. See Branzburg v.
Hayes, 408 U.S. 665, 688 (1972) (“the powers of the grand jury are . . . subject to

the supervision of a judge”); Levine v. United States, 362 U.S. 610, 617 (1960) (the
Case Let 7-ev-00707-DKW KIM Document 37 Filed oli7/24 Page 14 of 30 PagelD.708
grand jury is “an arm of the court”); Brown v. United States, 359 U.S. 41, 49
(1959) (“[a] grand jury is clothed with great independence in many areas, but it
remains an appendage of the court”); Blair v. United States, 250 U.S. 273, 280
(1919) (“the inquisitorial function of the grand jury ... [is] incident[ to] the judicial
power of the United States”); Carlson v. United States, 837 F.3d 753, 761 (7th
Cir. 2016) (“The grand jury is an ‘arm of the court’ and thus falls under the
supervisory authority of the district court.”). Given the grand jury’s role as an
independent body, the district court’s supervisory power is limited and may be
used only to “preserve or enhance the traditional functioning of the grand jury.”
See Carlson, 837 F.3d at 762 (quoting Williams, 504 at 50). In exercising its
supervisory authority over grand jury investigations, courts frequently employ in
camera proceedings and review ex parte affidavits in order to protect grand jury
secrecy in various contexts, including applications for search and seizure warrants
and Title II] wiretaps, and questions relating to privileges and the invocation of the
crime-fraud exception.

Federal grand jury proceedings are not adversarial proceedings, and many
matters relating to on-going grand jury investigations are routinely handled in ex
parte proceedings that are not bound by the rules of evidence:

A grand jury proceeding is we an adversary hearing where guilt or

innocence is adjudicated but an ex parte investigation to determine if

there is probable cause to believe a crime has been committed. The
grand jury deliberates in secret and acts “independently of either

7
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 15 of 30 PagelD.709
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prosecuting attorney or judge.” Because it is essential to the federal
criminal justice system, this investigative body has great powers of
investigation and inquisition. The grand jury may generally “compel
the production of evidence or testimony of witnesses . . . unrestrained
by the technical procedural and evidentiary rules governing the
conduct of criminal trials.”

In re Grand Jury Subpoena, 223 F.3d 213, 216 (3d Cir. 2000) (citing United States
v. Dionisio, 410 U.S. 1, 16 (1973) and United States v. Calandra, 414 U.S. 338,
343 (1974)) (emphasis added); see also In re Grand Jury Proceedings #5, 402 F.3d
247, 255 (4th Cir. 2005) (noting that in making the crime-fraud exception
determination, a court may consider testimony “or a reliable government proffer”).
The Supreme Court ‘R held that saddling a grand jury with mini-trials “would
assuredly impede its investigation and frustrate the public’s interest in the fair and
expeditious administration of the criminal laws.” Dionisio, 410 U.S. at 17.

The magistrate judge’s ruling that the Court lacked jurisdiction was based on

an erroneously finding there was no pending grand jury proceeding,’ despite

> See Transcript of Sealed Proceeding (Ex. “E”/Doc. No. 7-7) at 44:24-25 (“there
is no active grand jury for this potential crime”) and 48:13-15 (“There’s not an
active grand jury investigating the crime you believe is occurring or is about to
occur.”’); see also Order at 13-14 (“The Government has not established any nexus
between the information contained in the audio recordings and the pending grand
jury proceeding relating to the alleged theft of a mailbox.”) and 15-16 (“the
Government has not provided any authority for the proposition that it is proper for
the Court to make this kind of determination before a case has been filed or grand
jury empaneled. The Government’s reference to a potential grand jury
investigation into the matter here does not change the Court’s analysis.”’).
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 16 of 30 PagelD.710
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repeated proffers and representations by government counsel that the investigation
into this new matter (i.e., the alleged intentional misapplication of HPD and City
funds to pay the $250,000 Kealoha settlement without required City Council
approval) arose out of, and was an expansion of, the on-going Kealoha
Investigation (Grand Jury Proceeding No. 15-1-7). See, e.g., Transcript of Sealed
Proceeding (Ex. “E”/Doc. No. 7-7) at 5:9 to 6:1; 7:1-24; 8:14-24; 38:25 to 40:4;
Recon. Memo at 17 (stating that subject to the Court’s ruling on the crime-fraud
exception, the United States intended to present the evidence, including the subject
recorded conversations, to the Grand Jury as evidence of possible official
government misconduct in violation of 18 U.S.C. § 666, and to call certain City
officials to provide testimony to Grand Jury).

In addition, the magistrate judge held that “if the Court were to take on a
“supervisory role” based on the pending grand jury proceeding, the targets of the
grand jury proceeding would be entitled to notice of the Government’s Motion
with regard to the audio recordings.” Order at 14 (citing the Fifth and Fourteenth
Amendments to the Constitution). This ruling is contrary to law. See, e.g., In re
Grand Jury Subpoena, 223 F.3d at 219 (grand jury targets’ inability to inspect and
rebut government’s ex parte affidavit supporting invocation of crime-fraud
exception does not violate due process); In re Grand Jury Subpoenas, 144 F.3d

653 (10th Cir. 1998) (no abuse of discretion or due process violation based on
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 17 of 30 PagelD.711
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court’s refusal to disclose ex parte government affidavit upon which it relied to
determine that crime-fraud exception applied to target); In re Grand Jury
Proceedings, 867 F.2d 539, 540-41 (9th Cir. 1989) (rejecting argument that due
process violated when district court relied on an ex parte affidavit to decide that
government satisfied threshold showing to conduct an in camera hearing to
determine whether the crime-fraud exception applied).

B. The Magistrate Judge Applied Incorrect Legal Standards
In Making The Crime-Fraud Exception Determination.

A review of the Order reveals that incorrect legal standards were applied in
determining whether the Government had made the prima facie showing necessary
to invoke the crime-fraud exception and abrogate any privilege relating to the three
recorded conversations. First and foremost, the magistrate judge erroneously
referred to a “probable cause” standard, rather than the less stringent “prima facie
showing” standard, to determine whether the Government had met the evidentiary
standard to apply the crime-fraud exception:

The court must then determine whether there is probable cause to

believe that a crime or fraud has been committed and that the

communication was in furtherance thereof.

See Order at 21 (citation omitted) (emphasis added).
Second, the magistrate judge improperly refused to consider the contents of

the three recorded conversations in making the crime-fraud determination based on

an erroneous finding that the Government had not requested the Court to consider

10
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 18 of 30 PagelD.712
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the purportedly privileged materials in camera. Id. at 22. In making that finding,
the magistrate judge relied upon a statement made by the Government in its initial
Motion,’ and rejected repeated requests on reconsideration to consider the contents
of the recorded conversations as evidence supporting the application of the crime-
fraud determination. See, e.g., Recon. Memo at 21-22 (“the recorded
conversations, along with the newly discovered evidence, are sufficient to establish
a prima facie showing”) (emphasis added) and 28 (“Based on the four recorded
conversations and the newly discovered evidence presented in support of this
motion for reconsideration, the Court should find that the United States has
presented sufficient evidence to establish reasonable cause to believe that Leong,
Sword, Koyanagi and J are involved in a violation of 18 U.S.C. § 666 and/or a

conspiracy or attempt to violate 18 U.S.C. § 666”) (emphasis added).

4 In its memorandum of support of the Motion, the Government stated:

In this case, the Government believes that the non-privileged evidence
available to the Court more than adequately establishes a prima facie
case for the application of the crime-fraud exception to the category of
communications here. Unless the Court believes it is necessary and
appropriate to consider the putatively privileged communications in
camera under Zolin’s two-part test, the government is not requesting
the Court to do so.

See Doc. No. 2-1 at 11-12 (emphasis added). By this language, the Government
reserved, and did not waive, its right to request in camera review and consideration
of the allegedly privileged material if the Court determined that the independent
evidence was not sufficient.

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Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 19 of 30 PagelD.713
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In enunciating the applicable standard for in camera review of the privileged
materials in Zolin, the Supreme Court observed that “in camera inspection ...18a
smaller intrusion upon the confidentiality of the attorney-client relationship than is
public disclosure,” and “a lesser evidentiary showing is needed to trigger in
camera review than is required ultimately to overcome the privilege:

We think that the following standard strikes the correct balance.
Before engaging in in camera review to determine the applicability of
the crime-fraud exception, “the judge should require a showing of a
factual basis adequate to support a good faith belief by a reasonable
person” that in camera review of the [privileged] materials may
reveal evidence to establish the claim that the crime-fraud exception
applies.

Once that showing is made, the decision whether to engage in
in camera review rests in the sound discretion of the district court.
The court should make that decision in light of the facts and
circumstances of the particular case, including, among other things,
the volume of materials the district court has been asked to review, the
relative importance to the case of the alleged privileged information,
and the likelihood that the evidence produced through in camera
review, together with other available evidence then before the court,
will establish that the crime-fraud exception does apply.

United States v. Zolin, 491 U.S. 554, 572 (1989) (citations omitted) (emphasis
added). Instead of considering the independent evidence proffered by the
Government to determine whether the threshold showing for in camera review had
been satisfied, the magistrate judge applied the following incorrect legal standard:
The Government did not provide the Court with non-privileged
evidence that would establish “a good-faith belief” for inferring that

a crime had been committed and/or that a communication between an
attorney and client was in furtherance or anticipation of a criminal

12
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 20 of 30 PagelD.714
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act. Instead, the Government provided the Court with un-redacted

transcripts of all of the communications and asked the Court to make a

blanket determination that the crime-fraud exception applied to all of

the potentially privileged communications. The Government seeks to

leapfrog the requirements of Zolin and give the Court unfettered

access to potentially privileged information in an attempt to find a

crime-fraud exception to the privilege.
Order at 21-22 (citations omitted) (emphasis added). A review of the record
reveals that the United States did satisfy the threshold showing for in camera
review — that is, the Government did present independent evidence sufficient to
support “a good faith belief by a reasonable person” that in camera review of the
three recorded conversations could reveal evidence to establish the Government’s
claim that the crime-fraud exception applies. See, e.g., Recon. Memo at 2-4
(summarizing relevant portions of the corrected transcript of the first recorded

conversation) and 11-17 (describing the newly discovered non-privileged

evidence). Based on the contents of first recorded conversation between Chief

5 F.g., (1) Acting HPD Deputy Chief Axt’s description of the January 11, 2017
meeting and his conversation with Deputy Corporation Counsel Bj in which
BR conceded that the proposal to pay Kealoha using HPD salary funds was
illegal, id. at 11, see also Second Moriyama Decl. at §| 10; (2) Sword’s letter to
City Council Chair Ron Menor stating that the contemplated retirement agreement
with Kealoha would not require City Council approval “because there is no
employment claim that has been made by Chief Kealoha” and that any agreement
would “not solely nor primarily concern the use of city funds;” see Ex. “G” (Doc.
No. 7-9) (emphasis added); (3) the January 18, 2017 letter agreement between the
Police Commission and Kealoha that had many characteristics of a settlement
agreement, including a broad release provision and a lump-sum payment of
$250,000 -- $190,000 of which was a severance payment and $60,000 of which
was payment for “fees, costs and expenses;” see Recon. Memo at 13-14 and Ex.

13
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 21 of 30 PagelD.715
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Okimoto and Leong that outlined how Leong wanted to structure the Kealoha
payment in order to evade City Council approval, the government’s proffer relating
to the conversation between Deputy Chief Axt and Bg in which Bj admitted
that the proposal to pay the Kealoha settlement with HPD funds was illegal --
along with the corroborating evidence described in the Recon. Memo, and note 7,
supra -- are sufficient to support a “good faith belief by a reasonable person” that
an in camera review of the three recorded conversations might reveal evidence to
establish the claim that the crime-fraud exception applies. Accordingly, the
magistrate judge’s failure to consider the contents of the three recorded
conversations in determining whether the crime-fraud exception applied was

clearly erroneous and contrary to law.°

“H” (Doc. No. 7-10); and (4) the evidence that BFS issued a single check, but
processed the $250,000 Kealoha payment as three separate transfers in the amounts
of $99,999.00, $99,999.00 and $50,002.00, even though all three transfers involved
the same “Pay Event Type” of SVN; the same “Event Date” of January 26, 2017;
the same “Document Code” of OTPAY; and the same “Document ID” of
17012600000000015471. See Third Moriyama Decl. (Doc. No. 8-1) at § 4(a) - (d)
and Exs. “J’-“K” (Doc. Nos. 8-2 to 8-3).

° The magistrate judge also erred in disregarding the additional evidence submitted
by the Government on reconsideration because he found that “[mlJost of the
evidence ... preceded the Motion Hearing” and “[t]he ‘new’ facts which occurred
after January 19, 2017 are either public information or simply supplement or
support the information provided in the Motion or at the Motion Hearing.” Order
at 23. In submitting the newly obtained or discovered evidence, the Government
represented that either it did not have access to the evidence at the time it filed the
Motion or the evidence arose out of events that occurred after the Motion was
denied.” See Second Moriyama Decl. at 710. The fact that some of the

14
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 22 of 30 PagelD.716
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C. On Reconsideration, The Court Should Find That
The Crime-Fraud Exception Applies in this Case.

Due to the above-described erroneous rulings, the magistrate judge denied
the Recon. Motion without properly considering whether the evidence proffered by
the Government in support of the crime-fraud exception. On reconsideration, this
Court should find that the Government satisfied the prima facie showing necessary
to invoke the crime-fraud exception in this case.

In order to invoke the crime-fraud exception to divest facially privileged
communications of the protection of the attorney-client privilege, the government
must make a prima facie showing of (1) the existence of a crime or fraud; and
(2) a relationship between the privileged communications and the illegality.

United States v. Chen, 99 F.3d 1495, 1503 (9th Cir. 1996) (quoting In re Grand
Jury Proceedings (The Corporation), 87 F.3d 377, 380 (9th Cir. 1996)). The
Government has presented sufficient evidence to satisfy both prongs of the test.

1. The Proffered Evidence Was Sufficient to Establish a
Prima Facie Showing of a Violation of 18 U.S.C. § 666.

To make a prima facie showing of the existence of a crime, the United States

need only present evidence sufficient to establish reasonable cause to believe that a

information proffered by the Government has been publicly disclosed by the
targets or the media is irrelevant and does not diminish its probative value in |
determining whether the crime-fraud exception applies. See Zolin, 491 U.S. at 575
(threshold showing to obtain in camera review may be met by using “any relevant
evidence, lawfully obtained, that has not been adjudicated to be privileged.’’)

15
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 23 of 30 PagelD.717

federal crime has occurred or is occurring. Reasonable cause “is more than
suspicion but less than a preponderance of the evidence.” Chen, 99 F.3d at 1503.

As noted in the Recon. Memo af 22, a violation of Section 666(a)(1)(A)
requires proof of the following elements:

(1) That the defendants were agents’ of a State or local government or
agency;

(2) That ina one-year period, the State or local government or agency
received federal benefits in excess of $10,000; and

(3) That the defendants intentionally misapplied property valued at
$5,000 or more that is owned by, or is under the custody or control of,
the State or local government or agency.

In proving a violation of Section 666 based on an intentional misapplication of
funds, the United States need not show that the defendants benefitted personally.
See United States v. Urlacher, 979 F.2d 935 (2nd Cir. 1992). In Urlacher, the
court found that the first four prohibited acts listed in Section 666(a)(1)(A) -- i.e.,
embezzling, stealing, obtaining by fraud and the unauthorized conversion of
property to the use of a person other than the rightful owner -- related to the

unlawful taking of funds for personal gain. In interpreting the fifth prohibited act

listed in Section 666(a)(1)(A) -- i.e., the intentional misapplication of property —

7 The agent need not be someone in a position of trust, and a breach of trust is not
a requirement for violation of this statute. See United States v. Brann, 990 F.2d 98
(3d Cir. 1993); United States v. Fernandez, 2013 WL 3215461 (1st Cir. June 26,
2013) (state legislator).

16
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 24 of 30 PagelD.718
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the Urlacher court held: “Intentional misapplication, in order to avoid redundancy,
must mean intentional misapplication for otherwise legitimate purposes; if it were
for illegitimate purposes, it would be covered by the prohibitions against
embezzlement, stealing, obtaining by fraud, or conversion.” 979 F.2d at 938
(upholding conviction of a police chief who used at least some of the funds he
embezzled for legitimate police purposes). Thus, Section 666 can be violated
based on an intentional misapplication even if the misapplied funds are used for an
otherwise legitimate government purpose. See, e.g., United States v. Frazier, 53
F.3d 1105 (10th Cir. 1995) (superseded on other grounds) (recipient of Department
of Labor funds misapplied those funds when he used money intended for training
to buy computers, even though computers benefited his organization); United
States v. Shelton, 816 F. Supp. 1132, 1137 (W.D. Tex. 1993) (“Subsection (c) of
Section 666 does not serve to absolve the Defendant of wrongdoing merely
because the funds were used to pay a “salary,” especially where that “salary” is not
bona fide’).

Here, the first two elements of Section 666(a)(1)(A) are easily satisfied.
Leong, Sword, Koyanagi and aa are City attorneys and/or the heads of City
executive branch agencies, and as such, all of them are agents of the City and

County of Honolulu. The United States proffers that both the City and HPD

17
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 25 of 30 PagelD.719
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receive substantially more than $10,000 in federal funds in any given one-year
period.

The third element -- the intentional misapplication of HPD and/or City
property valued at $5,000 or more -- is also satisfied. Here, the convoluted
payment scheme designed by Leong, Sword, Koyanagi and Bg to use HPD
salary funds to pay the $250,000 Kealoha settlement, without first obtaining the
required approval of the City Council, and then later, secretly replenishing HPD’s
operating budget with $250,000 in City funds from the BFS provisional account
without Council approval, would constitute at least a conspiracy or an attempt to
intentionally misapply more than $5,000 of HPD and/or City funds in violation of
18 U.S.C. § 666(a)(1)(A). The scheme implicates and seeks to avoid two sections
of the Revised Ordinances of the City and County of Honolulu (“ROH”) -- ROH
§§ 2-3.4(a) and 2-17.2(c)(1) -- which require City Council approval for certain

large payments and transfers of City funds.®

8 ROH § 2-3.4(a) provides that, except as provided in § 2-3.1(d), “no claim shall
be adjusted, settled, or compromised without the prior approval of the council”
(emphasis added). ROH § 2-3.1(d)(1) gives the Corporation Counsel authority to
settle claims involving $5,000 or less. The Hawaii Supreme Court has held that
ROH § 2-3.4(a) vests exclusive authority in the City Council to settle or
compromise a claim in exchange for consideration involving the commitment of
City funds over $5,000. See Harris v. DeSoto, 80 Haw. 425 (1996).

ROH § 2-17.2(c)(1) requires City Council approval for all transfers of funds
from one budget activity to another when the amount of the transfer is more than
$100,000:

18
Case 1:1 7-cv-00107-DKVEIGIM Document 37 Filed o1/1 7/24. Page 26 of 30 PagelD.720

Here, the Agreement between the Police Commission and Kealoha should
have been submitted to the City Council approval since it constitutes a settlement
involving more than $5,000. See ROH § 2-3.4(a). The Agreement has all the
attributes of a settlement agreement, including the following: (1) the payment of
$190,000 as a “severance payment” and $60,000 for “fees, costs and expenses;” (2)
an extremely broad release of Kealoha’s claims against the Police Commission and
HPD, including all claims arising out of Kealoha’s “employment with HPD? and/or
[his] retirement from HPD;” and (3) the express language stating that the $250,000
payment constitutes consideration for Kealoha’s waiver and release of claims set
out in Paragraph 6 of the Agreement. Because Sword and/or others wanted to

avoid the “nine bananas up at the council,”!° however, he, Leong, Koyanagi and/or

(1) No transfer of funds from an activity shall be executed
without council approval by resolution when the cumulative amount
of transfers from that activity shall total in excess of $100,000.00 or
10 percent of the amount appropriated for that activity in the
executive operating budget ordinance . . . whichever is less.

(Emphasis added).

° The release language in Paragraph 6 of the Agreement stands in stark contrast
with Sword’s January 13, 2017 letter, in which he assured City Council Chair
Menor that Council approval was not necessary because “there is no employment
claim that has been made by Chief Kealoha” and “the primary purpose of the
agreement is to effect his retirement in a way that is least disruptive to the HPD.”
See Ex. “G” at 2.

10 See Recon. Memo at 6; Ex. “B” (Doc. No. 7-4) at 6.
19
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 27 of 30 PagelD.721
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PYM designed and agreed to implement their convoluted payment scheme to create
the appearance that the Agreement, including the $250,000 lump sum payment,
was not a settlement that required City Council approval under ROH § 2-3.4(a).

The proposed scheme includes several steps and multiple transactions. First,
the use of salary fifi from HPD’s operating budget to pay the $250,000 Kealoha
settlement is a potential misuse of those funds in light of HPD’s insistence that it
did not have sufficient operating funds to pay for the settlement, and because it
furthers Leong, Sword, Koyanagi and/or gs improper intent to create the
appearance that the Agreement did not “solely or primarily concern the use city
funds” and was a matter “solely vested in the Commission,” as stated by Sword in
his January 13, 2017 letter to City Council Chair Menor, see Ex. “G” (Doc. No. 7-
9) at 2, by purportedly paying Kealoha with HPD salary funds. In the second
phase of the scheme -- which is yet to be implemented — the HPD salary funds will
be secretly replaced with City funds under false pretenses. As described by Leong
and Koyanagi, $250,000 in City funds can be surreptitiously transferred to HPD’s
budget under the guise that it is a routine transfer from a BFS provisional account
for vacant positions for the stated purpose of providing money to HPD to pay for
vacant positions that had been filled or were being filled. This subsequent transfer
-- if falsely represented by HPD to be for the purpose of paying for vacant

positions that were filled, as suggested by Leong and Koyanagi -- would only

20
Case 1:17-cv-00107-DKW-KJM Document 37 Filed oli7/24 Page 28 of 30 PagelD.722
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require notification to the City Council via a quarterly report submitted by BFS,
and would not constitute a “transfer of funds from an activity” requiring City
Council approval under ROH § 2-17.2. The transfer of $250,000 in City funds
from the provisional account to replace the $250,000 of HPD funds that were used
to pay Kealoha would, in fact, constitute a “transfer of funds from an activity” and
would trigger the need for City Council approval under ROH § 2-17.2. Thus, the
scheme proposed by Leong, Koyanagi, Sword and/or Bg would require HPD
personnel to lie about the purpose for the subsequent transfer of funds to HPD,
which the senior staff of HPD refused to do. See Recon. Memo at 6-8; Ex. “C”
(Doc. No. 7-5) at 1-2. Taken as a whole, this convoluted payment scheme
involving the payment of the $250,000 Kealoha settlement with HPD funds, and
the subsequent repayment of the $250,000 to HPD using unapproved City funds
from the BFS provisional account, constitutes an attempt to intentionally misapply
HPD and City funds in order to conceal the fact that the $250,000 Kealoha
settlement is secretly being paid with City funds from the BSF provisional account
without the necessary approval by the City Council, and not with HPD salary funds
as publicly represented by Sword and others.

Based on the four recorded conversations and the newly discovered evidence
presented in support of the Recon. Motion, this Court should find that the United

States did present sufficient evidence to establish reasonable cause to believe that

21
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24 Page 29 of 30 PagelD.723
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Leong, Sword, Ravens! and BU are involved in a violation of 18 U.S.C. § 666
and/or a conspiracy or attempt to violate 18 U.S.C. § 666, and that the first prong
of the prima facie showing necessary to apply the crime-fraud exception has been
satisfied.

2. The Subject Recorded Conversations Are Related to, and
in Furtherance of, the Alleged Violation of 18 U.S.C. § 666.

With regard to the second prong of the United States’ prima facie showing —
i.e., the relationship between the privileged communications and the alleged crime
-- the United States has amply satisfied that requirement. Here, the four recorded
conversations provide critical evidence of the potential crime, including Leong,
Sword, Koyanagi and BJs agreement to engage in the alleged wrongdoing; a
description of their scheme to intentionally misapply $250,000 in HPD and City
funds in order to pay the Kealoha settlement without obtaining City Council
approval as required by ROH §§ 2-3.4(a) and/or 2-17.2(c); and their efforts to
conceal the misapplication from the City Council and the public. These
conversations -- in which Leong, Sword, Koyanagi and Bj were attempting to
persuade or coerce Chief Okimoto and his senior staff to cooperate and go along
with the scheme -- were made in furtherance of the crime. As such, these recorded
conversations are central to the grand jury investigation of these government

officials. This Court should find that the United States has demonstrated that the

22
Case 1:17-cv-00107-DKW-KJM Document 37 Filed 01/17/24, Page 30 of 30 PagelD.724
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purported privileged communications are related to the alleged crime in
satisfaction of the second prong of the crime-fraud determination.

Il. CONCLUSION

As the magistrate judge’s Order is contrary to law and clearly erroneous, the
United States respectfully urges the District Court to issue an order granting this
appeal, and finding that upon reconsideration of the evidence and arguments
presented by the Government, the United States has established the prima facie
showing necessary to apply the crime-fraud exception in this case to abrogate any
privilege relating to the subject recorded conversations.

DATED: March 7, 2017, at Honolulu, Hawaii.

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23
